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          EXHIBIT # B
           Case 1:23-cv-02380-HG-JRC Document 1-2 Filed 03/28/23 Page 2 of 2 PageID #: 21

                                                  Kings County Civil Court
                                                      Civil Judgment

Plaintiff(s):                                                                   Index Number: CV-030895-19/KI
 Cavalry SPV I, LLC As Assignee Of Citibank, N.A.
                                                                                Judgment issued: On Default
vs.                                                                             On Motion of:
                                                                                Mandarich Law Group LLP
Defendant(s):
                                                                                5965 Transit Road Suite 500, East Amherst,
 Tyrone A Blackburn
                                                                                NY 14051

Amount claimed                     $4,370.36     Index Number Fee              $45.00     Transcript Fee            $0.00
Less Payments made                     $0.00     Consumer Credit Fee           $95.00     County Clerk Fee          $0.00
Less Counterclaim Offset               $0.00     Service Fee                   $48.50     Enforcement Fee           $0.00
Interest     09/26/2019                $0.00     Non-Military Fee               $0.00     Other Disbursements       $0.00
Attorney Fees                          $0.00     Notice of Trial Fee            $0.00     Other Costs               $0.00
Cost By Statute                       $20.00     Jury Demand Fee                $0.00
Total Damages              $4,370.36 Total Costs & Disbursements               $208.50    Judgment Total        $4,578.86
The following named parties, addressed and identified as creditors below:
Plaintiff creditor(s) and address
(1) Cavalry SPV I, LLC As Assignee Of Citibank, N.A.
500 Summit Lake Drive, Suite #400, Valhalla, NY 10595
Shall recover of the following parties, addresses and identified as debtors below:

Defendant debtor(s) and address
(1) Tyrone A Blackburn
1242 E 80th ST Apt 3, Brooklyn, NY 11236-4160

Judgment entered at the Kings County Civil Court, 141 Livingston Street, Brooklyn, NY 11201, in the STATE OF NEW
YORK in the total amount of $4,578.86 on 01/12/2022 at 02:55 PM.


Judgment sequence 1


                                                                          Alia Razzaq, Chief Clerk




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